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                               UNITED STATESDISTRICT COURT
                               SOUTHERN D ISTRICT OF FLORIDA
                                CaseNo.23-mj-4227-OTAZO-REYES
UNITED STATES OF AM ERICA,
          Plaintiff,

                                                   Charging District's Case No. 8:23−cr−388−TPB−CPT

M A TTHEW FRED ERICK BERG W ELL,
           Defendant.



                                      O RD ER O F R EM O V A L

       lt appearing that in the M iddle D istrict of Florida,an Indictm ent w as filed againstthe above-
named defendanton a charge ofConspiracy to Com m itCom puter Fraud,and thatthe defendantwas
arrestedintheSouthern DistrictofFloridaandwasgiven ahearingbeforeUnited StatesM agistrateJudge
AliciaM .Otazo-Reyes atM inm i,Florida,which officially com mitted the defendantforrem ovalto the
M iddle DistrictofFlorida,itisORDERED AN D ADJUDGED thatthe defendantbe removed to the
above-nam ed districtfortrialon said charge.
       And itfurtherappearingthatthedefendantwaived furtherhearing inthesaidremovalproceedings
and w as held by the M agistrate Judge A licia M .O tazo-lkeyes for rem ovaland posted bailin the am ount
of $50.000 10%       which wasapproved by theUnited StatesM agistrateJudgeAliciaM .Otazo-Reyes,
anditisfurtherORDERED thatthedefendantshallappearintheaforesaiddistrictatsuchtim esandplaces
asmay be ordered by thatDistrictCourt,in accordancewith theterm sand conditionsofaforesaid bond
fum ished by the defendant,and itisf'urtherORD ERED thatthe funds,plusinterest,w hich m ay have been
deposited on behalfofthisdefendantwith theClerk ofthe CourtunderBailReform Actbetransferred to
thedistrictwhererem oved.
       DON E AN D O RD ERED atM inm i,Florida on N ovem ber 9,2023.




                                                    A licia M .O tazo-Reyes
                                                    United States M agistrate Judge
